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 4
     Attorney for Defendant, BOUAVONE KEOMOUNEPANE
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 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,   )               CASE NO. 1:07-CR-00268 AWI
10                               )
          Plaintiff,             )
11                               )               APPLICATION FOR ORDER
        v.                       )               EXONERATING BOND AND FOR
12                               )               RECONVEYANCE OF REAL
     BOUAVONE KEOMOUNEPANE,      )               PROPERTY AND ORDER THEREON
13                               )
                 Defendant.      )
14   ____________________________)
15         Defendant BOUAVONE KEOMOUNEPANE, by and through her counsel of
16   record, ROGER K. LITMAN, hereby moves this court for an order exonerating the
17   property bond posted to secure Mr. Keomounepane’s release from custody and for
18   reconveyance of real property in the above-captioned case.
19         The magistrate court ordered Ms. Keomounepane’s release from custody
20   under conditions of Pretrial Services supervision on a $50,000 property bond. Real
21   property owned by BOUAGUEN AND KHONG KEOMOUNEPANE, was posted as
22   collateral for the property bond. On October 19, 2007, a certified copy of the deed
23   of trust (Fresno County document #2007-6405), and promissory note in the
24   amount of $50,000, were received by the court.
25         On February 28, 2011, Ms. Keomounepane was sentenced to a total term of
26   twelve months and a day, and self surrendered into the custody of the U.S.
27   Marshal’s Service.
28         Since Ms. Keomunepane has been sentenced, and the Judgment against Ms.

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 1   Keomounepane in this action filed on March 10, 2011, she requests that the court
 2   exonerate the bond previously set by the magistrate court and reconvey title to
 3   the real property securing said bond.
 4
 5   DATED: April 17, 2012
                                        Respectfully submitted,
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 7
                                        /s/ Roger K. Litman
 8                                      ROGER K. LITMAN
                                        Attorney for Defendant
 9                                      BOUAVONE KEOMOUNEPANE
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11                                       ORDER
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          IT IS HEREBY ORDERED that the bond in the above-captioned case be
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     exonerated and title to the real property (Parcel #: 045-102-051) securing said
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     bond be reconveyed to
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     BOUAGUEN KEOMOUNEPANE AND KHONG KEOMOUNEPANE.
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17                                       ORDER
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